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                                                                                                         U.S. DISTRICT COURT
                                                                                                             N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


GINA KAY RAY, et al.,                              )
    Plaintiffs,                                    )
                                                   )
v.                                                 )       Case No.: 2:12-02819-RDP
                                                   )
JUDICIAL CORRECTION                                )
SERVICES, INC., et al.,                            )
    Defendants.                                    )


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